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  Department of Correction officers screen visitors on Rikers Island, July 1, 2021.                     Ben Fractenberg/THE CITY




           This story is the product of a collaboration between New York Focus
           and THE CITY.




           This story has been updated to reflect the current number detainees held in city
           jails.

           In March, Greg Williams testified before the City Council about his experience
           being incarcerated on Rikers Island. He recalled observing groups of correction
           officers hanging out with one another for long periods, talking and “basically
           doing nothing.”

           But when it came time for them to transport him to video visits, the officers
           would often show up late, cutting his time short, he said. “I can tell you from my
           time there…how much time and money is wasted in that agency,” Williams told
           the Council’s Committee on Criminal Justice.

           Last year, the city’s jails employed five correction officers for every three
           incarcerated people — a ratio seven times higher than the national average.
           Some 7,575 correction officers currently oversee approximately 5,600 detainees
           — about four officers for every three incarcerated people.
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           Yet the city recently passed a 2022 budget that provided for an additional 400
           correction officers.

           Advocates for incarcerated people had pressed the de Blasio administration to
           decrease the correction department budget — the largest of any jail agency in the
           country — by 10%. Instead, the budget was increased by $27 million over the
           budget passed by the Council last year, coming in at $1.18 billion, records show.




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           Criminal justice reform advocates protest in Manhattan against the hiring of new correction
           officers for city jails, May 12, 2021.               Ben Fractenberg/THE CITY




           Correction officials and the union representing correction officers point to
           shortages of available officers amid illness and attrition, as well as an increase in
           programs for detainees, as among the reasons to hire more staff.

           But jail experts, including a federal monitor overseeing the department and
           advocates for incarcerated people, say staff shortages are due to
           mismanagement — and that having too many officers exacerbates violence. They
           contend the city should conduct an independent analysis of its current staff and
           how they are deployed.

           “There are a lot of officers who are on the payroll at certain jails who aren’t
           actually working there,” said Martin Horn, who ran the Correction Department
           during the Bloomberg administration.

           Almost all officers prefer duties where they have little or no contact with
           inmates, Horn said, including transportation, perimeter security and working

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           the visitation unit. Officers favored by supervisors often snag roles as record-
           keepers and receptionists for wardens or deputy wardens, he added.

           Those jobs could be handled by civilians who earn less than correction officers,
           jail experts say.

           Sick Days and AWOLs Up
           Over the past year, the department has struggled to keep jails fully open and
           maintain basic services for detainees due to lack of available staff. Some
           correction officers have been forced to work double and even triple shifts.

           In May, the lack of available officers got so bad city jail officials put a Rikers
           facility housing seriously mental ill detainees on lockdown because there were
           not enough available officers. Some 1,200 correction officers called out sick that
           day, and another 700 or so were on medically restricted duty for various health
           reasons.

           On Friday, the number of officers out sick was up to 1,367, according to the
           department.


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           Rikers Staff Sick Call Spike Spurs Lockdown, Trapping Mentally Ill in Cells


           Correction officers have unlimited sick leave but must provide medical proof
           while they are out. Jail officials are looking to boost a unit that checks up on
           injured and sick officers to make sure they are actually home recuperating.

           Last week, recently appointed DOC Commissioner Vincent Schiraldi slammed
           officers who appear to be skipping work.

           “We have 1,400 people on any day calling in sick and 5,000 people not coming
           to work and not calling, AWOLing [absent without official leave],” Schiraldi told
           NY1. “Those people should be ashamed of themselves, and they need to get back
           to work and support the heroes that came in every day.”
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           Department of Correction Commissioner Vincent Schiraldi                                 Courtesy of the Mayor’s Office




           Sarita Daftary, co-director of Freedom Agenda, an Urban Justice Center project
           that advocates for decarceration, argued that the high AWOL rate makes it
           “harder for [the officers] who do show up for work — and of course, dangerous
           for the incarcerated people who aren’t getting to their court dates, to visits, to
           medical, to commissary, aren’t getting mail, and all other kinds of human rights
           abuses.”

           Steve Martin, the federal monitor overseeing the correction department, found
           in a report published in May that mismanagement of the DOC’s staff “has a
           direct impact on the department’s ability to reduce the level of violence” within
           the facility.
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           Overstaffing has led officers to respond to incidents in larger groups than
           necessary, increasing the chance that they use excessive force, said the report.
           Overall, the review found the department suffers from a “pervasive level of
           disorder and chaos,” with the use-of-force rate against inmates hitting a five-
           year high.
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           City Jails Roiled by ‘Disorder and Chaos,’ Feds Say as Correction Boss Quits


           A DOC spokesperson defended the additional hires.

           “Running the city’s jail system is a 24/7 operation, requiring multiple shifts and
           different housing arrangements with various staffing needs,” said the
           spokesperson, Shayla Mulzac. “We are also currently experiencing staffing
           issues due to the pandemic, our antiquated facilities… and attrition.”

           While the budget allocated $1.18 billion to the DOC, that figure could climb
           significantly higher. DOC spent $100 million over its budget last year, and kept
           more than 1,000 uniformed officers on staff than it had initially projected.

           “Given the department’s active headcount remained higher than what was
           funded due to aggressive attrition assumptions and staffing issues associated
           with closing facilities, DOC required additional funding in” the 2020-2021 fiscal
           year, Mulzac said.

           Court Crunch Hurts
           During a May City Council budget hearing, lawmakers questioned DOC officials
           about the need to hire 400 more officers in light of the monitor’s critiques. “I
           feel validated and vindicated by what the federal monitor is saying because I’ve
           been saying it for 10 years,” said Councilman Daniel Dromm (D-Queens), chair
           of the finance committee.

           DOC officials justified the hires by pointing to spikes in officers calling out sick
           during the pandemic. In one day in April, they said, roughly 1,875 officers were
           out on leave. The city’s antiquated jails also need more staff than modern
           facilities because their design blocks sight lines, officials said.

           Former DOC Chief Hazel Jennings pointed to a third reason: a pandemic-
           induced slowdown in the courts has meant that people are staying in jail longer


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           before their trials. Approximately 989 people have spent more than 600 days
           incarcerated, Jennings said.




           Councilmember Keith Powers (D-Manhattan)                             John McCarten/New York City Council




           Keith Powers, chair of the Council’s Criminal Justice Committee, pointed out
           that the class of new officers being trained won’t be able to work for at least six
           months, by which time pandemic-related problems should be resolved. “I don’t
           have a crystal ball,” replied then-DOC Commissioner Cynthia Brann.

           The union representing city jail officers says that adding 400 officers, likely by
           this fall, is the least the department can do to address what it describes as a
           staffing crisis that has forced some of its members to sleep in their cars between
           shifts.

           ‘Officers are Suffering’
           The last class of 408 correction officers started Feb. 11, 2019, according to the
           department. The department has lost over 1,000 officers to resignations over

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           roughly that same period, said Benny Boscio Jr., president of the Correction
           Officers Benevolent Association.

           “Our officers are suffering,” he said.

           He added that programs created for detainees require additional correction
           officers who don’t show up in the department’s traditional “table of
           organization.”

           Schiraldi has said he plans to vastly increase the number of such programs for
           people behind bars.

           Boscio also defended the staff to inmate ratio, noting that the department has
           three shifts a day and that not all the officers are on duty at the same time.




           The entrance to Rikers Island on Hazen Street in Queens, Jan. 21, 2019.                       Ben
           Fractenberg/THE CITY




           Correction Department officers must work for 20 years before they are eligible
           to retire and receive full pensions. In June 2001, the department hired 347
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           correction officers.

           The lack of available staff has long plagued the department and has frequently
           led people behind bars to miss their medical visits. Detainees must be escorted
           to the medical clinic by officers. But if no officer is available, or interested,
           detainees miss their visits and must reschedule.

           Asked about criticisms that officers are not being effectively deployed, Peter
           Thorne, DOC spokesperson, acknowledged that detainees are “periodically” not
           getting commissary and have missed medical appointments.

           “We agree [with the federal monitor] that we need an independent staffing
           analysis to identify any changes necessary to conduct deployments more
           effectively,” Thorne added.

           More than $1 billion of the DOC’s funding for the next fiscal year is contingent
           on the department providing semi-annual reports breaking down the number of
           officers tasked with duties that are usually performed by civilians.

           Fear of Backward Turn
           In an emailed statement, city Comptroller Scott Stringer, who put the DOC on
           his agency “watch list,” called the $1.18 billion DOC budget an “unacceptably
           high figure” and said that the “rising jail population and rates of violence are not
           trending in the right direction.”

           Councilmember Brad Lander, who will likely succeed Stringer as comptroller
           next year, agreed.

           “NYC is now incarcerating fewer than half as many people awaiting trial as we
           were 10 years ago, but the DOC budget has grown by 20%, largely spent on
           headcount. Today’s budget furthers that backwards trend,” he said in an emailed
           statement the day the Council passed the budget.

           Mayor Bill De Blasio has promised to close Rikers by 2028 and to cut the jail
           population to 3,300. The Lippman Commission, the panel convened to explore

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           closing Rikers, recommended reducing staff levels to .73 officers for every
           incarcerated person.

           “It sends a message that they’re not serious about closing Rikers Island by the
           deadline,” said Jullian Calvin-Harris, director of the Greater Justice New York
           program for the Vera Institute of Justice.




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